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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


NICHOLAS MAGNOTTA                                   CIVIL ACTION

                      v.                            N0.18-1025

ROCKSOLID PARTNERS LLC, et al.

                                              ORDER

       AND NOW, this       12th   day of March 2018, upon reviewing the Complaint (ECF Doc. No.

1), and consistent with our independent obligation to ensure subject matter jurisdiction, it is

ORDERED Plaintiff shall, no later than March 20, 2018, either file an Amended Complaint

pleading the parties' citizenship and our venue or show cause in a memorandum not exceeding

seven (7) pages as to why we should not dismiss his case for lack of subject matter jurisdiction. 1




                                                      KEARNEv, J.
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                                                                      ., ~'----




1
   Plaintiff alleges Defendant Rocksolid Partners, LLC "is a Pennsylvania Limited Liability
Corporation, duly organized and existing under and by virtue of laws on the Commonwealth of
Pennsylvania" at 976 Pottstown Pike, Chester Springs 19425. ECF Doc. No. 1, ii 2. Plaintiff
alleges Defendant Matthew Cipirch is "the president and member of Rocksolid Partners, LLC
but does not allege Defendant Cipirch's citizenship or whether Defendant Cipirch is the only
member of Defendant Rocksolid Partners, LLC. Id ii 3.

"[T]he citizenship of an LLC is determined by the citizenship of its members." Zambelli
Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 420 (3d Cir. 2010). Plaintiff fails to properly allege
diversity because he fails to allege the citizenship of Defendant Cipirch and fails to allege
whether Defendant Cipirch is the only member of Defendant Rocksolid, LLC or other members
exist whose citizenship may destroy diversity. Absent allegations as to each Defendant's
residence, we also cannot ascertain the propriety of venue under 28 U.S.C. § 1391 (a)(l).
